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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA


    IN THE MATTER OF THE SEARCH OF:                       )
                                                          )      Case No.
    LOCATIONS WITHIN THE PREMISES                         )
    TO BE SEARCHED IN ATTACHMENT A                        )      Filed Under Seal


                                 AFFIDAVIT IN SUPPORT OF AN
                               APPLICATION UNDER RULE 41 FOR A
                                WARRANT TO SEARCH AND SEIZE

               I,                  , being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND AGENT BACKGROUND

          1.        The government is conducting a criminal investigation concerning the improper

  removal and storage of classified information in unauthorized spaces, as well as the unlawful

  concealment or removal of govermnent records. The investigation began as a result of a referral

  the United States National Archives and Records Administration (NARA) sent to the United

  States Department of Justice (DOJ) on Febmary 9, 2022, hereinafter, "NARA Referral." The

  NARA Referral stated that on January 18, 2022, in accordance with the Presidential Records Act

  (PRA), NARA received from the office of former President DONALD J. TRUMP, hereinafter

  "FPOTUS," via representatives, fifteen (15) boxes of records, hereinafter, the "FIFTEEN

  BOXES." The FIFTEEN BOXES, which had been transpotted from the FPOTUS property at

  1100 S Ocean Blvd, Palm Beach, FL 33480, hereinafter, the "PREMISES," a residence and club

  known as "Mar-a-Lago," fmther described in Attachment A, were reported by NARA to contain,

  among other things, highly classified documents intermingled with other records.

          2.        After an initial review of the NARA Referral, the Federal Bureau of Investigation

  (FBI) opened a criminal investigation to, among other things, determine how the documents with




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  classification markings and records were removed from the White House (or any other authorized

  location(s) for the storage of classified materials) and came to be stored at the PREMISES:

  determine whether the storage location(s) at the PREMISES were authorized locations for the

  storage of classified information; detennine whether any additional classified documents or

 records may have been stored in an unauthorized location at the PREMISES or another unknown

 location, and whether they remain at any such location; and identify any person(s) who may have

 removed or retained classified infmmation without authorization and/or in an unauthorized space.

          3.        The FBI's investigation has established that documents bearing classification

 markings, which appear to contain National Defense Information (NDI), were among the

 materials contained in the FIFTEEN BOXES and were stored at the PREMISES in an

 1mautho1ized location.




 -         Further, there is probable cause to believe that additional documents that contain

 classified NDI or that are Presidential records subject to record retention requirements currently

 remain at the PREMISES. There is also probable cause to believe that evidence of obstmction

 will be found at the PREMISES.

          4.        I am a Special Agent with the FBI assigned to the Washington Field Office

                                                           . During this time, I have received training

  at the FBI Academy located at Quantico, Virginia, specific to counterintelligence and espionage

  investigations.




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  Based on my experience and training, I am familiar with efforts used to unlawfully collect, retain,

  and disseminate sensitive government information, including classified NDI.

          5.       I make this affidavit in support of an application under Rule 41 of the Federal

  Rules of Criminal Procedure for a warrant to search the premises known as 1100 S Ocean Blvd,

  Palm Beach, FL 33480, the "PREMISES," as further described in Attachment A, for the things

  described in Attachment B.

          6.       Based upon the following facts, there is probable cause to believe that the locations

  to be searched at the PREMISES contain evidence, contraband, fruits of crime, or other items

  illegally possessed in violationof18 U.S.C. §§ 793(e), 1519,or2071.

                                       SOURCE OF EVIDENCE

          7.       The facts set forth in this affidavit are based on my personal knowledge,

  knowledge obtained during my participation in this investigation, and information obtained from

  other FBI and U.S. Government personnel. Because this affidavit is submitted for the limited

  purpose of establishing probable cause in support of the application for a search warrant, it does

  not set forth each and every fact that I, or others, have learned during the course of this

  investigation.

                          STATUTORY AUTHORITY AND DEFINITIONS

          8.       Under 18 U.S.C. § 793(e), "[w]hoever having unauthorized possession of, access

  to, or control over any document ... or information relating to the national defense which

  information the possessor has reason to believe could be used to the injury of the United States or

  to the advantage of any foreign nation, willfully communicates, delivers, transmits or causes to be

  communicated, delivered, or transmitted" or attempts to do or causes the same "to any person not

  entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee




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  of the United States entitled to receive it" shall be fined or imprisoned not more than ten years, or

  both.

          9.     Under Executive Order 13526, information in any form may be classified ifit: (1)

  is owned by, produced by or for, or is under the control of the United States Government; (2) falls

  within one or more of the categories set forth in the Executive Order [Top Secret, Secret, and

  Confidential]; and (3) is classified by an original classification authority who determines that its

  unauthorized disclosure reasonably could be expected to result in damage to the national security.

          10.    Where such unauthorized disclosure could reasonably result in damage to the

  national security, the information may be classified as "Confidential" and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to

  the national security, the information may be classified as "Secret" and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave

  damage to the national security, the information may be classified as "Top Secret" and must be

  properly safeguarded.

          11.    Sensitive Compartmented Information (SCI) means classified information

  concerning or derived from intelligence sources, methods, or analytical processes, which is

  required to be handled within formal access control systems.

          12.    Special Intelligence, or "SI," is an SCI control system designed to protect technical

  and intelligence information derived from the monitoring of foreign communications signals by

  other than the intended recipients. The SI control system protects SI-derived information and

  information relating to SI activities, capabilities, techniques, processes, and procedures.

          13.    HUMINT Control System, or "HCS," is an SCI control system designed to protect

  intelligence information derived from clandestine human sources, commonly referred to as




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  "human intelligence." The HCS control system protects human intelligence-derived information

  and information relating to human intelligence activities, capabilities, techniques, processes, and

  procedures.

            14.   Foreign Intelligence Surveillance Act, or "PISA," is a dissemination control

  designed to protect intelligence information derived from the collection of information authorized

  under the Foreign Intelligence Surveillance Act by the Foreign Intelligence Surveillance Court, or

  "FISC."

            15.   Classified information may be marked as "Not Releasable to Foreign

  Nationals/Governments/US Citizens," abbreviated "NOFORN," to indicate information that may

  not be released in any form to foreign governments, foreign nationals, foreign organizations, or

  non-U.S. citizens without permission of the originator.

            16.   Classified information may be marked as "Originator Controlled," abbreviated

  "ORCON." This marking indicates that dissemination beyond pre-approved U.S. entities requires

  originator approval.

            17.   Classified information of any designation may be shared only with persons

  determined by an appropriate United States Government official to be eligible for access, and who

  possess a "need to know." Among other requirements, in order for a person to obtain a security

  clearance allowing that person access to classified United States Government information, that

  person is required to and must agree to properly protect classified information by not disclosing

  such information to persons not entitled to receive it, by not unlawfully removing classified

  information from authorized storage facilities, and by not storing classified information in

  unauthorized locations. If a person is not eligible to receive classified information, classified

  information may not be disclosed to that person. In order for a foreign government to receive




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  access to classified information, the originating United States agency must determine that such

 release is appropriate.

          18.    Pmsuant to Executive Order 13526, classified information contained on automated

  information systems, including networks and telecommunications systems, that collect, create,

 communicate, compute, disseminate, process, or store classified information must be maintained

 in a manner that: (1) prevents access by unauthorized persons; and (2) ensures the integrity of the

 information.

          19.    32 C.F .R. Parts 2001 and 2003 regulate the handling of classified information.

 Specifically, 32 C.F.R. § 2001.43, titled "Storage," regulates the physical protection of classified

 information. This section prescribes that Secret and Top Secret information "shall be stored in a

 [General Services Administration]-approved security container, a vault built to Federal Standard

 (FHD STD) 832, or an open storage area constructed in accordance with§ 2001.53." It also

 requires periodic inspection of the container and the use of an Intrusion Detection System, among

 other things.

         20.     Under 18 U.S.C. § 1519:

         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
         makes a false entry in any record, document, or tangible object with the intent to
         impede, obstruct, or influence the investigation or proper administration of any
         matter within the jurisdiction of any department or agency of the United States or
         any case filed under title 11, or in relation to or contemplation of any such matter
         or case, shall be fined under this title, imprisoned not more than 20 years, or both.

          21.    Under 18 U.S.C. § 2071:

         (a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or
         destroys, or attempts to do so, or, with intent to do so takes and carries away any
         record, proceeding, map, book, paper, document, or other thing, filed or deposited
         with any clerk or officer of any court of the United States, or in any public office,
         or with any judicial or public officer of the United States, shall be fined under this
         title or imprisoned not more than three years, or both.




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       (b) Whoever, having the custody of any such record, proceeding, map, book,
       document, paper, or other thing, willfully and unlawfully conceals, removes,
       mutilates, obliterates, falsifies, or destroys the same, shall be fined under this title
       or imprisoned not more than three years, or both; and shall forfeit his office and be
       disqualified from holding any office under the United States. As used in this
       subsection, the term "office" does not include the office held by any person as a
       retired officer of the Armed Forces of the United States.

       22.     Under the PRA, 44 U.S.C. § 2201:

       (2) The term "Presidential records" means documentary materials, or any
       reasonably segregable portion thereof, created or received by the President, the
       President's immediate staff, or a unit or individual of the Executive Office of the
       President whose function is to advise or assist the President, in the course of
       conducting activities which relate to or have an effect upon the carrying out of the
       constitutional, statutory, or other official or ceremonial duties of the President.
       Such term-

              (A) includes any documentary materials relating to the political activities of
                  the President or members of the President's staff, but only if such
                  activities relate to or have a direct effect upon the carrying out of
                  constitutional, statutory, or other official or ceremonial duties of the
                  President; but

              (B) does not include any documentary materials that are (i) official records
                  ofan agency (as defined in section 552(e) of title 5, United States
                  Code; (ii) personal records; (iii) stocks of publications and stationery;
                  or (iv) extra copies of documents produced only for convenience of
                  reference, when such copies are clearly so identified.

       23.     Under 44 U.S.C. § 3301(a), government "records" are defined as:

       all recorded information, regardless of form or characteristics, made or received by
       a Federal agency under Federal law or in connection with the transaction of public
       business and preserved or appropriate for preservation by that agency or its
       legitimate successor as evidence of the organization, functions, policies, decisions,
       procedures, operations, or other activities of the United States Government or
       because of the informational value of data in them.


                                       PROBABLE CAUSE

                                           NARA Referral

        24.    On February 9, 2022, the Special Agent in Charge ofNARA's Office of the




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  Inspector General sent the NARA Referral via email to DOJ. The NARA Referral stated that

  according to NARA's White House Liaison Division Director, a preliminary review of the

  FIFTEEN BOXES indicated that they contained "newspapers, magazines, printed news articles,

  photos, miscellaneous print-outs, notes, presidential correspondence, personal and post-

  presidential records, and 'a lot of classified records.' Of most significant concern was that highly

  classified records were unfoldered, intermixed with other records, and otherwise unproperly [sic]

  identified."

          25.    On February 18, 2022, the Archivist of the United States, chief administrator for

  NARA, stated in a letter to Congress's Committee on Oversight and Reform Chairwoman The

  Honorable Carolyn B. Maloney, "NARA had ongoing communications with the representatives of

  former President Trump throughout 2021, which resulted in the transfer of 15 boxes to NARA in

  January 2022 .... NARA has identified items marked as classified national security information

  within the boxes." The letter also stated that, "[b]ecause NARA identified classified information

  in the boxes, NARA staff has been in communication with the Department of Justice." The letter

  was made publicly available at the following uniform resource locator (URL):

  https://www.archives.gov/files/foia/ferriero-response-to-02.09.2022-maloney-

  letter.02. l 8.2022.pdf. On February 18, 2022, the same day, the Save America Political Action

  Committee (PAC) posted the following statement on behalf of FPOTUS: "The National Archives

  did not 'find' anything, they were given, upon request, Presidential Records in an ordinary and

  routine process to ensure the preservation of my legacy and in accordance with the Presidential

  Records Act .... " An image of this statement is below.




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                                                                                SAVE
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                                    Statement by Donald J. Trump, 45th President of the
                                                              Umted States QI Amenca

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     Boxes Containing Documents Were Transported from the White House to A-far-a-Lago

        30.    According to a CBS Miami article titled ''Moving Tmcks Spotted At Mar-a-Lago,"

 published Monday, January 18, 2021, at least two moving tmcks were observed at the PREMISES

 on January 18, 2021.




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        37.




                       Provision of the Fifteen Boxes to NARA

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         39.   On or about May 6, 2021, NARA made a request for the missing PRA records and

  continued to make requests until approximately late December 2021 when NARA was informed

 twelve boxes were found and ready for retrieval at the PREMISES.




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           The FIFTEEN BOXES Provided to N4.RA Contain Classified Information

        4 7.   From May 16-18, 2022, FBI agents conducted a prelimina1y review of the

FIFTEEN BOXES provided to NARA and identified documents with classification markings in

fourteen of the FIFTEEN BOXES. A prelin1ina1y triage of the documents with classification

markings revealed the following approximate numbers: 184 unique docmnents bearing

classification markings, including 67 documents marked as CONFIDENTIAL, 92 documents

marked as SECRET, and 25 documents marked as TOP SECRET. Fm1her, the FBI agents

observed markings reflecting the following compa11ments/dissemination controls: HCS, FISA,

ORCON, NOFORN, and SI. Based on my training and experience, I know that documents

classified at these levels typically contain NDI. Several of the documents also contained what

appears to be FPOTUS 's handwritten notes.

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        49.




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       50.




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        52.

                                                    In the second such letter, which is attached as

Exhibit I, FPOTUS COUNSEL 1 asked DOJ to consider a few "principles," which include

FPOTUS COUNSEL l's claim that a President has absolute authority to declassify documents. In

this letter, FPOTUS COUNSEL 1 requested, among other things, that "DOJ provide this letter to

any judicial officer who is asked to rule on any motion pertaining to this investigation, or on any

application made in com1ection with any investigative request concerning this investigation."

        53.    I am aware of an at1icle published in Breitbart on May 5, 2022, available at

https://www.breitbart.comvoliticsi2022i05/05/documents-mar-a-lago-marked-classified-were-

ah-eadv-declassifi.ed-kash-patel-savs/, which states that Kash Patel, who is desc1ibed as a former

top FPOTUS administration official, characterized as ''misleading" repo11s in other news

organizations that NARA had fol111d classified mate1ials among records that FPOTUS provided to

NARA from Mar-a-Lago. Patel alleged that such repot1s were misleading because FPOTUS had

declassified the materials at issue.




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          59.




          60.




          61.      On June 8, 2022, DOJ COUNSEL sent FPOTUS COUNSEL 1 a letter, which

 reiterated that the PREMISES are not autho1ized to store classified info1mation and requested the

 preservation of the STORAGE ROOM and boxes that had been moved from the White House to

 the PREMISES. Specifically, the letter stated in relevant part:

          As I previously indicated to you, Mar-a-Lago does not include a secure location
          authorized for the storage of classified inf01mation. As such, it appears that since the time
          classified documents                                                       were removed
          from the secure facilities at the White House and moved to Mar-a-Lago on or around
          Januaiy 20, 2021, they have not been handled in au approp1iate manner or stored in au
          appropriate location. Accordingly, we ask that the room at Mar-a-Lago where the
          documents had been stored be secured and that all of the boxes that were moved from the
          White House to Mar-a-Lago (along with any other items in that room) be preserved in that
          room in their cunent condition lmtil farther notice.



 2 18 U.S.C. § 793(e) does not use the tem1 "classified information.'' but rather criminalizes the wtlawful retention of
 "information relating to the national defense." The statute does not define "i.11fom1ation related to the national
 defense." but courts have construed it broadly. See Gorin, .. United States. 312 U.S. 19. 28 (1941) (holding that the
 phrase •'information relating to the national defense" as used in the Espionage Act is a "generic concept of broad
 connotations. refen-ing to the military and na\·al establishments and the related activities of national preparedness").
 fo addition. the information must be "closely held" by the U.S. government. See United States, .. Squil/acote. 221
 F.3d 542, 579 (4th Cir. 2000) (''[I]nfonnation made public by the go\·emment as well as infonnation never protected
 by the govemment is not national defense infom1ation."); United States, .. Morison. 844 F.2d 1057, 1071-72 (4th Cir.
 1988). Certain courts have also held that the disclosure of the documents must be potentially damaging to the United
 States. SeeM01ison, 844 F.2d at 1071-72.




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 On June 9, 2022, FPOTUS COUNSEL 1 sent an email to DOJ COUNSEL stating, ''I write to

 acknowledge receipt of this letter."




         62.




         63.




         64.




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      65.




-     66.




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       67.




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      Tllere is Probable Cause to Believe Tllat Documents Co11taini11g Classified ND/ and
                          Preside111ial Records Remain at tile Premises

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       72.




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        77.    Based upon this investigation, I believe that the STORAGE ROOM, FPOTUS's

residential suite, Pine Hall, the "45 Office," and other spaces within the PREMISES are not

cunently authorized locations for the storage of classified information or NDI. Similarly, based

upon this investigation, I do not believe that any spaces within the PRE1,1ISES have been

authorized for the storage of classified information at least since the end of FPOTUS 's

Presidential Administration on January 20, 2021.

        78.    As described above, evidence of the SUBJECT OFFENSES has been stored in

multiple locations at the PREMISES.




Accordingly, this affidavit seeks authorization to search the "45 Office" and all storage rooms and




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 any other rooms or locations where boxes or records may be stored within the PREMISES, as

 further described in Attachment A. The PREMISES is currently closed to club members for the

 summer; however, as specified in Attachment A, if at the time of the search, there are areas of the

 PREMISES being occupied, rented, or used by third parties, and not otherwise used or available

 to be used by FPOTUS and his staff, the search would not include such areas.



                                         CONCLUSION

         79.    Based on the foregoing facts and circumstances, I submit that probable cause exists

 to believe that evidence, contraband, fruits of crime, or other items illegally possessed in violation

 18 U.S.C. §§ 793(e), 2071, or 1519 will be found at the PREMISES. Further, I submit that this

 affidavit supports probable cause for a warrant to search the PREMISES described in Attachment

 A and seize the items described in Attachment B.

                                    REQUEST FOR SEALING

        80.     It is respectfully requested that this Court issue an order sealing, until further order

 of the Court, all papers submitted in support of this application, including the application and

 search warrant. I believe that sealing this document is necessary because the items and

 information to be seized are relevant to an ongoing investigation and the FBI has not yet identified

 all potential criminal confederates nor located all evidence related to its investigation. Premature

 disclosure of the contents of this affidavit and related documents may have a significant and

 negative impact on the continuing investigation and may severely jeopardize its effectiveness by

 allowing criminal parties an opportunity to flee, destroy evidence (stored electronically and

 otherwise), change patterns of behavior, and notify criminal confederates.




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       SEARCH PROCEDURES FOR HANDLING POTENTIAL ATTORNEY-CLIENT
                       PRIVILEGED INFORMATION

         The following procedures will be followed at the time of the search in order to protect

  against disclosures of attorney-client privileged material:

          81.      These procedures will be executed by: (a) law enforcement personnel conducting

  this investigation (the "Case Team"); and (b) law enforcement personnel not participating in the

  investigation of the matter, who will search the "45 Office" and be available to assist in the event

  that a procedure involving potentially attorney-client privileged information is required (the

  "Privilege Review Team").

         82.       The Case Team will be responsible for searching the TARGET PREMISES.

  However, the Privilege Review Team will search the "45 Office" and conduct a review of the seized

  materials from the "45 Office" to identify and segregate documents or data containing potentially

  attorney-client privileged information.

         83.       If the Privilege Review Team determines the documents or data are not potentially

  attorney-client privileged, they will be provided to the law-enforcement personnel assigned to the

  investigation.    If at any point the law-enforcement personnel assigned to the investigation

  subsequently identify any data or documents that they consider may be potentially attorney-client

  privileged, they will cease the review of such identified data or documents and refer the materials

  to the Privilege Review Team for further review by the Privilege Review Team.

          84.      If the Privilege Review Team determines that documents are potentially attorney-

  client privileged or merit further consideration in that regard, a Privilege Review Team attorney

  may do any of the following: (a) apply ex parte to the court for a determination whether or not the

  documents contain attorney-client privileged material; (b) defer seeking court intervention and




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continue to keep the documents inaccessible to law-enforcement personnel assigned to the

investigation; or (c) disclose the documents to the potential p1ivilege holder, request the privilege

holder to state whether the potential privilege holder asserts attorney-client privilege as to any

documents, including requesting a particularized privilege log, and seek a mling from the comi

regarding any attorney-client privilege claims as to which the P1ivilege Review Team and the

privilege-holder cannot reach agreement.




                                                     Respectfully submitted,




                                                     Special Agent
                                                     Federal Bm·eau of Investigation

Subscribed and sworn before me by
telephone (Wh~sApp) or other reliable electronic
means this _5_ day o , . ISt, 2022:




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                             EXHIBIT 1
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    ATTORNEYS AT L4.W


                                                     May 25, 2022

   Via Electronic Mail

   Jay I. Bratt, Esquire
   Chief
   Counterintelligence & Expmi Control Section
   National Security Division
   US. Department of Justice
   950 Pennsylvania, Avenue, N.W.
   Washington, D.C. 20530

                  Re:     Presidential Records Investigation

   Dear Jay:

   I write on behalf of President Donald J. Trump regarding the above-referenced matter.

   Public trust in the government is low. At such times, adherence to the rules and long-standing
   policies is essential. President Donald J. Trump is a leader of the Republican Party. The
   Department of Justice (DOJ), as part of the Executive Branch, is under the control of a President
   from the opposite party. It is critical, given that dynamic, that every effort is made to ensure that
   actions by DOJ that may touch upon the former President, or his close associates, do not involve
   politics.

   There have been public reports about an investigation by DOJ into Presidential Records
   purportedly marked as classified among materials that were once in the White House and
   unknowingly included among the boxes brought to Mar-a-Lago by the movers. It is important to
   emphasize that when a request was made for the documents by the National Archives and Records
   Administration (NARA), President Trump readily and voluntarily agreed to their transfer to
   NARA. The communications regarding the transfer of boxes to NARA were friendly, open, and
   straightforward. President Trump voluntarily ordered that the boxes be provided to NARA. No
   legal objection was asserted about the transfer. No concerns were raised about the contents of the
   boxes. It was a voluntary and open process.

   Unfortunately, the good faith demonstrated by President Trump was not matched once the boxes
   arrived at NARA. Leaks followed. And, once DOJ got involved, the leaks continued. Leaks about
   any investigation are concerning. Leaks about an investigation that involve the residence of a
   former President who is still active on the national political scene are particularly troubling.
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   It is important to note a few bedrock principles:

          (1) A President Has Absolute Authority To Declassify Documents.

  Under the U.S. Constitution, the President is vested with the highest level of authority when it
  comes to the classification and declassification of documents. See U.S. Const., Art. II, § 2 ("The
  President [is] Commander in Chief of the Army and Navy of the United States[.]"). His
  constitutionally-based authority regarding the classification and declassification of documents is
  unfettered. See Navy v. Egan, 484 U.S. 518, 527 (1988) ("[The President's] authority to classify
  and control access to information bearing on national security ... flows primarily from this
  constitutional investment of power in the President and exists quite apart from any explicit
  congressional grant.").

          (2) Presidential Actions Involving Classified Documents Are Not Subject To Criminal
              Sanction.

  Any attempt to impose criminal liability on a President or former President that involves his actions
  with respect to documents marked classified would implicate grave constitutional separation-of-
  powers issues. Beyond that, the primary criminal statute that governs the unauthorized removal
  and retention of classified documents or material does not apply to the President. That statute
  provides, in pertinent part, as follows:

                  Whoever, being an officer, employee, contractor, or consultant of
                  the United States, and, by virtue of his office, employment, position,
                  or contract, becomes possessed of documents or materials
                  containing classified information of the United States, knowingly
                  removes such documents or materials without authority and with the
                  intent to retain such documents or materials at an unauthorized
                  location shall be fined under this title or imprisoned for not more
                  than five years, or both.

  18 U.S.C. § 1924(a). An element of this offense, which the government must prove beyond a
  reasonable doubt, is that the accused is "an officer, employee, contractor, or consultant of the
  United States." The President is none of these. See Free Enter. Fund v. Pub. Co. Acct. Oversight
  Bd., 561 U.S. 477, 497-98 (2010) (citing U.S. Const., Art. II,§ 2, cl. 2) ("The people do not vote
  for the 'Officers of the United States."'); see also Melcher v. Fed. Open Mkt. Comm., 644 F. Supp.
  510, 518-19 (D.D.C. 1986), aff'd, 836 F.2d 561 (D.C. Cir. 1987) ("[a]n officer of the United States
  can only be appointed by the President, by and with the advice and consent of the Senate, or by a
  court of law, or the head of a department. A person who does not derive his position from one of
  these sources is not an officer of the United States in the sense of the Constitution."). Thus, the
  statute does not apply to acts by a President.



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           (3) DOJ Must Be Insulated From Political Influence.

   According to the Inspector General ofDOJ, one of the top challenges facing the Department is the
   public perception that DOJ is influenced by politics. The report found that "[o]ne important
   strategy that can build public trust in the Department is to ensure adherence to policies and
   procedures designed to protect DOJ from accusations of political influence or partial application
   of the law." See https://oig.justice.gov/reports/top-management-and-performance-challenges-
   facing-depatiment-justice-2021 (last visited May 25, 2022). We request that DOJ adhere to long-
   standing policies and procedures regarding communications between DOJ and the White House
   regarding pending investigative matters which are designed to prevent political influence in DOJ
   decision-making.

          (4) DOJ Must Be Candid With Judges And Present Exculpatory Evidence.

   Long-standing DOJ policy requires that DOJ attorneys be candid in representations made to
   judges. Pursuant to those policies, we request that DOJ provide this letter to any judicial officer
   who is asked to rule on any motion pertaining to this investigation, or on any application made in
   connection with any investigative request concerning this investigation.

   The official policy ofDOJ further requires that prosecutors present exculpatory evidence to a grand
   jury. Pursuant to that policy, we request that DOJ provide this letter to any grand jury considering
   evidence in connection with this matter, or any grand jury asked to issue a subpoena for testimony
   or documents in connection with this matter.

   Thank you for your attention to this request.

                                 With best regards,


                                  ~4..-M-
                                 M. Evan Corcoran


   cc:    Matthew G. Olsen
          Assistant Attorney General
          National Security Division
          Via Electronic Mail




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                                         ATTACHMENT A

                                       Property to be searched

         The premises to be searched, 1100 S Ocean Blvd, Palm Beach, FL 33480, is further

 described as a resort, club, and residence located near the intersection of Southern Blvd and S

 Ocean Blvd. It is described as a mansion with approximately 58 bedrooms, 33 bathrooms, on a

 17-acre estate. The locations to be searched include the "45 Office," all storage rooms, and all

 other rooms or areas within the premises used or available to be used by FPOTUS and his staff

 and in which boxes or documents could be stored, including all structures or buildings on the

 estate. It does not include areas currently (i.e., at the time of the search) being occupied, rented,

 or used by third parties (such as Mar-a-Largo Members) and not otherwise used or available to be

 used by FPOTUS and his staff, such as private guest suites.
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                                         ATTACHMENT B

                                        Property to be seized

        All physical documents and records constituting evidence, contraband, fruits of crime, or

 other items illegally possessed in violation of 18 U.S.C. §§ 793, 2071, or 1519, including the

 following:

                a. Any physical documents with classification markings, along with any

 containers/boxes (including any other contents) in which such documents are located, as

 well as any other containers/boxes that are collectively stored or found together with the

 aforementioned documents and containers/boxes;

                b. Information, including communications in any form, regarding the

 retrieval, storage, or transmission of national defense information or classified material;

                c. Any government and/or Presidential Records created between January

 20, 2017, and January 20, 2021; or

                d. Any evidence of the knowing alteration, destruction, or concealment of

 any government and/or Presidential Records, or of any documents with classification

 markings.
